                            Fourth Court of Appeals
                                   San Antonio, Texas
                                         JUDGMENT
                                      No. 04-24-00296-CV

                          IN THE INTEREST OF S.Q.-M.B., a Child

                  From the 407th Judicial District Court, Bexar County, Texas
                                Trial Court No. 2023PA00202
                     Honorable Charles E. Montemayor, Judge Presiding

  BEFORE JUSTICE WATKINS, JUSTICE RODRIGUEZ, AND JUSTICE VALENZUELA

        In accordance with this court’s opinion of this date, the trial court’s April 18, 2024 order
of termination is AFFIRMED. It is ORDERED that no costs be assessed against appellant in
relation to this appeal because she is presumed indigent under Texas Family Code section
107.013(e).

       SIGNED August 21, 2024.


                                                 _____________________________
                                                 Beth Watkins, Justice
